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              AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                                    UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                        Southern District of California

                              In the Matter of the Search of                               )
                        (Briefly describe the property to be searched                      )
                         or identify the person by name and address)                       )              Case No.    '21 MJ2835
                          Black Samsung S10 Cell Phone                                     )
                 Seized as FP&F No. 2021565500056801 Item 002                              )
                                                                                           )
                                 ("Target Device")

                  APPLICATION FOR AW ARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
                      I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
              penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
              property to be searched and give its location):
               See Attachment A, incorporated herein by reference.

              located in the             Southern               District of                 California                 , there is now concealed (identify the
              person or describe the property to be seized):


               See Attachment B, incorporated herein by reference.

                        The basis for the search under Fed. R. Crim. P. 4 l{c) is (check one or more):
                                ~ evidence of a crime;
                                •   contraband, fruits of crime, or other items illegally possessed;
                                0 property designed for use, intended for use, or used in committing a crime;
                                0 a person to be arrested or a person who is unlawfully restrained.

                        The search is related to a violation of:
                           Code Section                                                                   Offense Description
                      Title 8, United States Code §             Transportation Of Illegal Aliens (a)(1 )(A)(ii)
                      1324


                        The application is based on these facts:
                      See Attached Affidavit of Border Patrol Agent Anthony Martinez, incorporated herein by reference.


                        fl!   Continued on the attached sheet.
                         0 Delayed notice of _ _ days (give exact ending date if more than 30 days: .-:::::::::                         ) is requested under
                           18 U.S.C. § 3103a. the basis of which is set forth o n ~ ~

                                                                                                r                    Applicant's signature

                                                                                               Anthony Martinez, Border Patrol Agent, U.S. Border Patrol
                                                                                                                     Printed name and title

              Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                    telephone                       (specify reliable electronic means).


              Date:             07/14/2021                                                                     /3~
              City and state: San Diego, California                                                 HON. BARBARA L. MAJOR, U.S. Magistrate Judge
                                                                                                                     Printed name and title
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 1                                   ATTACHMENT A
                               PROPERTY TO BE SEARCHED
 2

 3 The following property is to be searched:

 4   Black Samsung S 10 Cell Phone
     Seized as FP&F No. 2021565500056801 Item 002
 s   ("Target Device")

 6 Target Device is currently in the custody of the Department of Homeland Security,
   Customs and Border Protection, United States Border Patrol, San Diego Sector.
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 1                                    ATTACHMENT B
                                     ITEM TO BE SEIZED
 2

 3       Authorization to search the cellular telephone described in Attachment A, and
   includes the search of disks, memory cards, deleted data, remnant data, slack space, and
 4
   temporary or permanent files contained on or in the cellular telephone for evidence
 5
   described below. The seizure and search of the cellular telephone shall follow the
   search methodology described in the affidavit submitted in support of the warrant.
 6       The evidence to be seized from the cellular telephone will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 7
   various third-party applications, photographs, audio files, videos, and location data, for
   the period of June 12, 2021 through July 12, 2021:
 8
          a.     tending to indicate efforts to smuggle aliens from Mexico into the United
 9               States; and transporting aliens within the United States.

10        b.     tending to identify accounts, facilities, storage devices, and/or services-
                 such as email addresses, IP addresses, and phone numbers-used to
11               facilitate alien smuggling and transpmtation of smuggled aliens;

12        C.     tending to identify co-conspirators, criminal associates, or others involved
                 in alien smuggling, or transportation of smuggled aliens;
13
          d.     tending to identify travel to or presence at locations involved in the
14               smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
15
          e.     tending to identify the user of, or persons with control over or access to,
16               the Target Device; and/or

17        f.     tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
18               in the activities described above,

19 which are evidence of violations of Title 8, United States Code, Section 1324.

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 1
                                           AFFIDAVIT
 2
                I, Anthony Martinez, being duly sworn, hereby state as follows:
 3
                                        INTRODUCTION
 4
             1.   I submit this affidavit in support of an application for a warrant to search
 s   the following electronic devices:

 6
                          Black Samsung Sl0 Cell Phone
                          Seized as FP&F No. 2021565500056801 Item 002
 7
                          ("Target Device")
 8

 9   the ("Target Device"), as further described in Attachment A and, to seize evidence of a
     crime, specifically, violations of Title 8, United States Code, Section 1324 (Alien
10
     Smuggling), as further described in Attachment B.
11
           2.       The requested warrant relates to the investigation and prosecution of Luis
12 Esteban DE LA TORRE, for transporting and moving illegal aliens within the United
     States. The Target Device is currently in the custody of Department of Homeland Security,
13
     Customs and Border Protection, United States Border Patrol, San Diego Sector.
14         3.       The facts set forth in this affidavit are based upon my personal observations,
15 my training and experience, and information obtained from various law enforcement
     personnel and witnesses, including my review of reports prepared by other law
16
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
17
     probable cause for the requested warrant and does not purport to set forth all of my
18 knowledge of the investigation into this matter. Dates and times are approximate.

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                                TRAINING AND EXPERIENCE
 1
            4.    I have been employed by the USBP since 2007 and am currently assigned to
 2
     the San Diego Sector Prosecutions Unit. I graduated from the Border Patrol Basic Academy
 3
     at the Federal Law Enforcement Training Center in Artesia, New Mexico. I am a Federal
4 Law Enforcement Officer within the meaning of Rule 41 (a)(2)(C), Federal Rules of

     Criminal Procedure and have been a Federal Law Enforcement Officer for twelve years. I
 5
     am authorized by Rule 4l(a) Federal Rules of Criminal Procedure to make applications for
 6
     search and seizure warrants and serve arrest warrants. I have experience and have received
 7   training with respect to conducting investigations of immigration and criminal violations
     of Titles 8, 18, 19, and 21 of the United States Code.
 8
            5.    My current duties involve the preparation of criminal and administrative cases
 9
     for prosecution, including the use of linking related subjects and information via electronic
10 equipment and telephones. In the course of my duties, I investigate and prepare for
     prosecution cases against persons involved in the inducement, transportation, and
11
     harboring of illegal aliens into and within the United States; and, the utilization of illegally-
12
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
13 illegally gain entry or remain in the United States.
            6.    During my tenure as a Border Patrol Agent, I have participated in the
14
     investigation of a number of cases involving the smuggling of aliens from Mexico into the
15
     United States and transportation of illegal aliens within the United States, which have
16 resulted in the issuance of arrest warrants, search warrants, seizure warrants, and the
     indictments of persons for alien smuggling, including drivers, passengers, and guides.
17
            7.    Through the course of my training, investigations, and conversations with
18
     other law enforcement personnel, I have gained a working knowledge of the operational
19 habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
     aliens into the United States from Mexico and transport them throughout the Southern
20
     District of California. I am aware that it is a common practice for alien smugglers to work
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 1 in concert with other individuals and to do so by utilizing cellular telephones to maintain
     communications with co-conspirators and/or illegal aliens in order to further their criminal
 2
     activities. Because they are mobile, the use of cellular telephones permits alien smugglers
 3
     and transporters to easily carry out various tasks related to their smuggling activities,
 4   including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 5
     accomplices about law enforcement activity in the area and the status of check-point
 6
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 7   locations, and/or operate alien stash houses.
             8.   The smuggling of aliens generates many types of evidence, including, but not
 8
     limited to, cellular phone-related evidence such as voicemail messages referring to the
 9
     arrangements of travel, names, photographs, text messaging ( via SMS or other
10 applications), and phone numbers of co-conspirators and illegal aliens.            For example,
     drivers and passengers responsible for transporting illegal aliens are typically in telephonic
11
     contact with co-conspirators immediately prior to and/or following the crossing of the
12
     illegal aliens at the border, at which time they receive instructions, including where to pick-
13 up the illegal aliens for transportation into the United States and where to take the illegal
     aliens after crossing into the United States. These communications may also include
14
     locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
15
     telephonic contact with co-conspirators prior to and following their crossing in order to
16 make smuggling arrangements, receive instructions, and report their locations after
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
17
     months in advance of an event to recruit drivers and to coordinate the event. It is also
18
     common for co-conspirators to continue to contact each other by phone calls, social media,
19 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
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 1          9.     Based upon my training, experience, and consultations with law enforcement
     officers experienced in narcotics trafficking investigations, and all the facts and opinions
 2
     set forth in this affidavit, I know that cellular telephones (including their Subscriber
 3
     Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
 4 for example, phone logs and contacts, voice and text communications, and data, such as

     emails, text messages, chats and chat logs from various third-party applications,
 5
     photographs, audio files, videos, and location data. In particular, in my experience and
 6
     consultation with law enforcement officers experienced in alien smuggling investigations,
 7 I am aware that individuals engaged in alien smuggling may store photos and videos on
     their cell phones that reflect or show co-conspirators and associates engaged in alien
 8
     smuggling, as well as images and videos with geo-location data identifying alien smuggling
 9
     transportation routes, and communications to and from recruiters and organizers.
10           10.   This information can be stored within disks, memory cards, deleted data,
     remnant data, slack space, and temporary or permanent files contained on or in the cellular
11
     telephone. Specifically, searches of cellular telephones may yield evidence:
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                   a. tending to indicate efforts to smuggle aliens from Mexico into the United
13                    States; and transporting aliens within the United States.

14                 b. tending to identify accounts, facilities, storage devices, and/or services-
                      such as email addresses, IP addresses, and phone numbers-used to
15                    facilitate alien smuggling and transportation of smuggled aliens;

16                 c. tending to identify co-conspirators, criminal associates, or others involved
                      in alien smuggling, or transportation of smuggled aliens;
17
                   d. tending to identify travel to or presence at locations involved in the
18                    smuggling, transportation, or harboring of illegal aliens, such as stash
                      houses, load houses, or delivery points;
19
                   e. tending to identify the user of, or persons with control over or access to,
20                    the Target Device(s); and/or

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 1                f. tending to place in context, identify the creator or recipient of, or establish
                     the time of creation or receipt of communications, records, or data involved
 2
                     in the activities described above.
 3

 4                         FACTS SUPPORTING PROBABLE CAUSE
 5          11.   On July 12, 2021, Border Patrol Agents D. Spafford, A. Guzman, J. Haynes,
     R. Salcido and Supervisory Border Patrol Agent T. Evers were conducting assigned duties
 6
     at the Campo Border Patrol Station's Interstate 8 Immigration Checkpoint in Pine Valley,
 7   California. The Checkpoint is located nine miles east of the Tecate Port of Entry and 15

 8 miles north of the United States/Mexico International Boundary. At approximately 6:34
   AM, Agent Guzman observed a white Chevrolet Malibu stop approximately 200 yards east
 9
   of the primary inspection area. Agent Guzman then observed the rear doors open and two
10 individuals exit the vehicle and began to run south. Agent Guzman verbally informed

11 surrounding agents that individuals had jumped out of the Malibu.
            12.   At approximately 6:35 AM, Agent Spafford was driving towards the
12
     checkpoint, and observed two males, later identified as Jose Antonio FIGUEROA-
13 Montano and Diego MERINO-Correo, jump over the concrete barrier into the center

14 median of Interstate 8 approximately 200 yards east of the Interstate 8 Westbound
   Checkpoint. He exited his vehicle and ran after FIGUEROA and MERINO. After jumping
15
     the same concrete barrier, Agent Spafford could see FIGUEROA and MERINO
16 approximately 20 yards away squatting down concealing themselves in some brush. Agent

17 Spafford called and motioned for FIGUEROA and MERINO to walk to his location. Once
   FIGUEROA and MERINO walked to Agent Spafford's location, Agent Spafford handed
18
   them off to Agent R. Salcido, who escorted them back to the checkpoint for inspection.
19          13.   At approximately 6:37 AM, the Malibu slowly approached Agent Guzman at

20   his position in the primary inspection area. The Malibu came to a stop and Agent Haynes,
     who was now on scene, ordered the driver, later identified as defendant, Luis Esteban DE
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 1 LA TORRE to exit the vehicle. Once DE LA TORRE exited the Malibu, Agent Haynes
     placed him in handcuffs. Agent Evers then escorted DE LA TORRE into the secondary
 2
     inspection area out of the way of traffic. In the secondary inspection area of the Interstate
 3
     8 Westbound Checkpoint, Agent Spafford conducted an immigration inspection on
 4   FIGUEROA and MERINO. FIGUEROA and MERINO admitted to being Mexican
     citizens and were not in possession of immigration documents that would allow them to
 5
     enter or remain in the United States legally.
 6
            14.      At approximately 6:57 AM, Agent Spafford placed FIGUEROA and
 7   MERINO under arrest. At approximately 6:57 AM, Agent Spafford then approached the
     DE LA TORRE, who was also sitting in the secondary inspection area and placed him
 8
     under arrest.
 9
            15.      During a post arrest inventory search, a Black Samsung S 10 Cell Phone
10 (Target Device) was found on the front center console of the Malibu. The device was
     subsequently seized.
11
            16.      Material witnesses, FIGUEROA and MERINO, admitted to being citizens of
12
     Mexico, illegally present in the United States, and not having any documents that would
13 allow them to enter or remain in the United States legally. FIGUEROA and MERINO
     admitted to making smuggling arrangements and agreeing to pay $7,000 to $8,000 USO,
14
     respectively, if they were successfully smuggled into the United States. FIGUEROA and
15
     MERINO stated that they were being cellphone guided. FIGUEROA stated that a white
16 vehicle picked them up and that when he got in the vehicle he sat in the rear seats.
     FIGUEROA described the driver of the vehicle as a male with black hair and wearing a
17
     light blue sweater. MERINO described the driver as a male with short grey hair, brown
18
     eyes and wearing a grey sweatshirt. FIGUEROA and MERINO were presented with a
19 photo lineup and were able to identify defendant Luis Esteban DE LA TORRE as the driver
     of the vehicle.
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 1            I 7.   Based upon my experience and training, consultation with other law
     enforcement officers experienced in human trafficking investigations, and all the facts and
 2
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 3
     electronic mail (email) addresses, appointment dates, messages, pictures, and other digital
 4 information are stored in the memory of the Target Device. In light of the above facts and
     my experience and training, there is probable cause to believe that the Defendant was using
 5
     the Target Device to communicate with others to further illegal entry into the United
 6
     States. Based on my training and experience, it is also not unusual for individuals, such as
 7 the Defendant, to attempt to minimize the amount of time they were involved in their
     smuggling activities, and for the individuals to be involved for weeks and months longer
 8
     than they claim. Accordingly, I request permission to search the Target Device for data
 9
     beginning on June 12, 2021 through July 12, 2021.
10

11                                            METHODOLOGY
             18.     It is not possible to determine, merely by knowing the cellular telephone's
12
     make, model and serial number, the nature and types of services to which the device is
13
     subscribed, and the nature of the data stored on the device. Cellular devices today can be
14 simple cellular telephones and text message devices, can include cameras, can serve as
     personal digital assistants and have functions such as calendars and full address books and
15
     can be mini-computers allowing for electronic mail services, web services and rudimentary
16
     word processing. An increasing number of cellular service providers now allow for their
17 subscribers to access their device over the internet and remotely destroy all of the data
     contained on the device. For that reason, the device may only be powered in a secure
18
     environment or, if possible, started in "flight mode" which disables access to the network.
19 Unlike typical computers, many cellular telephones do not have hard drives or hard drive

20 equivalents and store information in volatile memory within the device or in memory cards
     inserted into the device. Current technology provides some solutions for acquiring some of
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 1 the data stored in some cellular telephone models using forensic hardware and software.
     Even if some of the stored information on the device may be acquired forensically, not all
 2
     of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 3
     data acquisition or that have potentially relevant data stored that is not subject to such
 4   acquisition, the examiner must inspect the device manually and record the process and the
     results using digital photography. This process is time and labor intensive and may take
 5
     weeks or longer.
 6
           19.    Following the issuance of this warrant, a case agent familiar with the
 7   investigation will collect the subject cellular telephone and subject it to analysis. All
     forensic analysis of the data contained within the telephone and its memory cards will
 8
     employ search protocols directed exclusively to the identification and extraction of data
 9
     within the scope of this warrant.
10         20.    Based on the foregoing, identifying and extracting data subject to seizure
     pursuant to this warrant may require a range of data analysis techniques, including manual
11
     review, and, consequently, may take weeks or months. The personnel conducting the
12
     identification and extraction of data will complete the analysis within 90 days, absent
13 further application to this court.

14                       PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
           21.    Law enforcement has previously attempted to obtain the evidence sought by
15
     this warrant through the owners' consent. Consent was not given.
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 1
                                             CONCLUSION
           22.   Based on the facts and infonnation set forth above, there is probable cause to
 2
     believe that a search of the Target Device will yield evidence of an alien smuggling
 3   violation of Title 8, United States Code, Sections 1324.
           23.    Because the Target Device was seized at the time of DE LA TORRE's arrest
 4
     and have been securely stored since that time, there is probable cause to believe that such
 5 evidence continues to exist on the Target Device. As stated above, I believe that the

 6 appropriate date range for this search is from June 12, 2021 through July 12, 2021.
           24.   Accordingly, I request that the Court issue a warrant authorizing law
 7
     enforcement to search the item described in Attachment A, and seize the item listed in
 8 Attachment Busing the above-described methodology.

 9
     I swear the foregoing is true and correct to the best of my knowledge and belief.
10

11

                                            Anthony Martinez
12
                                            Border Patrol Agent
13

14
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
15 4.1 by telephone on this 14th day of July 2021.

16

17
   HON. BARBARA L. MAJOR
18 United States Magistrate Judge

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